840 F.2d 11Unpublished Disposition
    NOTICE: Fourth Circuit I.O.P. 36.6 states that citation of unpublished dispositions is disfavored except for establishing res judicata, estoppel, or the law of the case and requires service of copies of cited unpublished dispositions of the Fourth Circuit.James Henry MILLER, Petitioner-Appellant,v.UNITED STATES of America, Respondent-Appellee.
    No. 87-6081.
    United States Court of Appeals, Fourth Circuit.
    Submitted:  Oct. 26, 1987.Decided:  Feb. 11, 1988.
    
      James Henry Miller, appellant pro se.
      Douglas Cannon, Assistant United States Attorney, for appellee.
      Before WIDENER, K.K. HALL, and JAMES DICKSON PHILLIPS, Circuit Judges.
      PER CURIAM:
    
    
      1
      A review of the record and the district court's opinion discloses that this appeal from its order refusing relief under 28 U.S.C. Sec. 2255 is without merit.  Because the dispositive issues recently have been decided authoritatively, we deny Miller's motion to subpoena tape recordings, dispense with oral argument and affirm the judgment below on the reasoning of the district court.  Miller v. United States, C/A No. 86-619-D;  Cr. No. 84-87-D (M.D.N.C. Apr. 20, 1987).
    
    
      2
      AFFIRMED.
    
    